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UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

 

EASTERN DIVISION
UNITED STATES OF AMERICA
upon the relation and
for the use of the
TENNESSEE VALLEY AUTHORITY
Plaintiff
V. Civil Action No. 1-04-1327»T/AN

AN EASEMENT AND RIGHT-OF-WAY
OVER 0.45 ACR_E OF LAND, MORE OR
LESS, IN HARDIN COUNTY, TENNESSEE

WAYNE PLUNKETT

LEON EASLEY

HARDIN COUNTY BANK OF
SAVANNAH, TENNESSEE

EDDIE K. WHITLOW, trustee

Defendants

 

 

RULE 16(b) SCHEDULING ORDER

 

Pursuant to the scheduling conference set by Written notice, the following dates are
established as the fmal dates for:

INITIAL DISCLOSURES (RULE 26(A)(1)): June 10, 2005

JOINING PARTIES:

for Plaintiff: July 27, 2005
for Defendants: August 26, 2005

AMENDING PLEADINGS:

for Plaintiff: July 27, 2005
for Defendants: August 26, 2005

This document entered on the docket sheetl co jw?e
with Ru|e 58 and,'or 79 (a) FRCP on _ 1 / /

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COMPLETING ALL DISCOVERY: January 20, 2006

(a) REQUESTS FOR PRODUCTION, INTERROGATOR]ES
and REQUESTS FOR ADMISSIONS: November 30, 2005

(b) EXPERT DISCLOSURE (Rule 26(a)(2)):
(i) Plaintiff’s Experts: December 27, 2005
(ii) Defendants’ Experts: November 27, 2005
(iii) Supplernentation under Rule 26(e): January 10, 2006

(c) DEPOSITIONS 0F EXPERTS: January 20, 2006
FILING DIsPosITIvE MOTIONS: January 26, 2006
FINAL LIsTs oF erNEssEs AND EXHIBITS (Rule 26(a)(3)):

(a) for Plaintiff: March 24, 2006
(b) for Defendants: March 10, 2006

Parties shall have 10 days after service of final lists of witnesses and
exhibits to file objections under Rule 26(a)(3).

The trial of this matter is expected to last 2 days and is SET for NON-
JURY TRIAL ON April 26, 2006, at 9:30 A.M. A joint pretrial order is due on April 17,
2006. ln the event the parties are unable to agree on a joint pretrial order, the parties must
notify the court at least ten days before trial.

OTHER RELEVANT MATTERS:

Gordon Maj ors, the President of defendant Hardin County Bank of Savannah 'l`ennessee
(“the Bank”) has informed the other parties that defendant Eddie K. Whitlow, mortgage trustee, is
deceased without replacement, that the Bank declines to participate in proceedings to determine
just compensation and that it shall not advance a claim to the distribution of proceeds from this
action, or participate in any proceeding involving such distribution of proceeds

Interrogatories, Requests for Production and Requests for Admissions must be submitted to
the opposing party in sufficient time for the opposing party to respond by the deadline for
completion of discovery. For example, if the FRCP allows 30 days for a party to respond, then the
discovery must be submitted at least 30 days prior to the deadline for completion of discovery.

Motions to compel discovery are to be filed and served by the discovery deadline or within
30 days of the default or service of the response, answer, or objection which is the subject of the
motion if the default occurs within 30 days of the discovery deadline, unless the time for filing of
such motion is extended for good cause shown, or any objection to the default, response, or answer
shall be waived.

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The parties are reminded that pursuant to Local Rule 7(a)(l)(A) and (a)(l)(B), all motions,
except motions pursuant to FRCP 12, 56, 59, and 60, shall be accompanied by a proposed Order
and a Certificate of Consultation.

The opposing party may file a response to any motion filed in this matter. Neither party
may file an additional reply, however, without leave of the court. If a party believes that a reply is
necessary, it shall file a motion for leave to file a reply accompanied by a memorandum setting
forth the reasons for which a reply is required.

The parties may consent to trial before the Magistrate Judge. The Magistrate Judge can
normally provide the parties With a definite trial date that will not be continued unless a
continuance is agreed to by all parties, or an emergency arises which precludes the matter from
proceeding to tn'al.

T he parties are encouraged to engage in court-annexed attorney mediation or private

mediation on or before the close of discovegg.

This order has been entered after consultation with trial counsel pursuant to notice. Absent
good cause shown, the scheduling dates set by this Order will not be modified or extended

 

 

 

 

IT IS SO ORDERED.
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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE
Date: _?77£17 / 71|r 2005
Tendered:
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Philip J/ Pfdifer lNSh¢/r\ Bradford D Box
Office of the General Counsel Kate E. Rhodes
Tennessee Valley Authority Rainey, Kizer, Reviere & Bell, PLC
400 West Summit Hill Drive P.O. Box 1147
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Attorney for Plaintiff Attorney for Defendants

Wayne Plunkett and Leon Easley
003735273

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CERTIFICATE OF SERVICE
I certify that the foregoing proposed order was served on Defendant Hardin County

Bank of Savannah, Tennessee, on May 13, 2005, by mailing a copy thereof to:

Hardin County Bank of Savannah, Tennessee
Attn: Gordon Majors, President

110 Tennessee Street

Savannah, Tennessee 38372

Attorney for Defendants
Wayne Plunkett and Leon Easley

 

Notice of Distribution

This notice confirms a copy of the document docketed as number ll in
case l:04-CV-01327 was distributed by faX, mail, or direct printing on
May 18, 2005 to the parties listed.

ESSEE

 

Bradford D. Box

RAINEY KIZER REVIERE & BELL
209 E. Main Street

Jacl<son7 TN 38302--1]4

Edwin W. Small

TENNESSEE VALLEY AUTHORITY
400 W. Summit Hill Dr.

Knoxville7 TN 37902--140

Philip J Pfeifer

TENNESSEE VALLEY AUTHORITY
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Honorable J ames Todd
US DISTRICT COURT

